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16                                 UNITED STATES DISTRICT COURT
17                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                          SAN JOSE DIVISION
19   NETFUEL, INC.,                                )   CASE NO. 5:18-cv-2352-EJD
                                                   )
20                 Plaintiff,                      )   CISCO SYSTEMS, INC.’S NOTICE OF
                                                   )   MOTION AND MOTION TO DISMISS
21          v.                                     )   PLAINTIFF’S COMPLAINT FOR
                                                   )   FAILURE TO STATE A CLAIM FOR
22   CISCO SYSTEMS, INC.                           )   WILLFUL AND PRE-SUIT INDUCED
                                                   )   INFRINGEMENT; MEMORANDUM
23                 Defendant.                      )   OF POINTS AND AUTHORITIES
                                                   )
24                                                     [Fed. R. Civ. P. 12(b)(6)]
25                                                     Complaint Filed: April 18, 2018
26                                                     Judge:            Hon. Edward J. Davila
                                                       Hearing:          September 27, 2018
27                                                     Time:             9:00 a.m.
28

     CISCO’S MOTION TO DISMISS COMPLAINT                                       Case No. 5:18-cv-2352-EJD
     FOR FAILURE TO STATE A CLAIM
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     CISCO’S MOTION TO DISMISS                                                  iii                                Case No. 5:18-cv-2352-EJD
     FOR FAILURE TO STATE A CLAIM
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 1                                   NOTICE OF MOTION AND MOTION
 2          PLEASE TAKE NOTICE that on September 27, 2018 at 9:00 a.m., in Courtroom 4, 5th Floor,
 3   United States District Court for the Northern District of California, San Jose Courthouse, 280 South
 4   First Street, San Jose, CA 95113, Defendant Cisco Systems, Inc. (“Cisco”) shall and hereby does move
 5   for an order dismissing the claims of willful infringement and any claims of pre-suit induced
 6   infringement in the Complaint filed by Plaintiff NetFuel, Inc. (“NetFuel”). This motion is supported by
 7   the following Memorandum of Points and Authorities and such other written or oral argument as may be
 8   presented at or before the time this motion is heard by the Court.
 9                                 STATEMENT OF RELIEF REQUESTED
10          Defendant Cisco Systems, Inc. (“Cisco”) seeks an order dismissing NetFuel’s willful
11   infringement allegations and any pre-suit induced infringement allegations pursuant to Rules 8 and
12   12(b)(6) of the Federal Rules of Civil Procedure for failure to state a claim.
13                                STATEMENT OF ISSUES TO BE DECIDED
14          Whether NetFuel’s Complaint fails to state a claim under the Patent Laws of the United States,
15   35 U.S.C. §§ 101, et seq., for willful infringement because it fails to allege facts sufficient to show
16   Cisco’s willful infringement of U.S. Patent Nos. 7,747,730 (“the ’730 Patent”) or 9,663,659 (“the ’659
17   Patent”) (collectively “Patents-in-Suit”) and pre-suit inducement of infringement.
18                           MEMORANDUM OF POINTS AND AUTHORITIES
19          INTRODUCTION
20          Cisco moves to dismiss Plaintiff’s allegations of willful infringement because they are
21   insufficient as a matter of law to support such a claim. The Supreme Court has carefully elucidated a
22   standard for willful infringement, which is reserved for “egregious infringement behavior” that is
23   “willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—
24   characteristic of a pirate.” Halo Elecs., Inc. v. Pulse Elecs., Inc., __ U.S. __, 136 S.Ct. 1923, 1932
25   (2016) (“Halo”). Of course, two necessary prerequisites to “egregious infringement behavior” are
26   patents that exist and knowledge of those patents—one cannot flagrantly infringe a patent without
27   knowing it exists, and much less before it has even issued.
28
     CISCO’S MOTION TO DISMISS                              1                         Case No. 5:18-cv-2352-EJD
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 1          Here, Plaintiff’s willfulness allegations fail for at least two reasons: (1) Plaintiff does not allege
 2   either pre-suit knowledge of the Patents-in-Suit or pre-suit “egregious infringement behavior,” and (2)
 3   Plaintiff points to no “egregious infringement behavior” that occurred after Cisco had knowledge (via
 4   service of the Complaint). As to the first point, Plaintiff alleges that Cisco actually learned of the
 5   asserted patents when the Complaint was served, and it is a truism that without knowledge of a patent,
 6   there can be no willful infringement. As such, all of the alleged pre-suit “bad acts” of which Plaintiff
 7   complains are wholly irrelevant to the willfulness analysis, and there can be no pre-suit willful
 8   infringement.
 9          As to the second point, Plaintiff has not alleged any egregious infringing acts after Cisco
10   received knowledge of the patents by virtue of the Complaint. Indeed, Plaintiff alleges only that Cisco
11   has continued with routine sales of the accused products, which is insufficient as a matter of law to
12   constitute culpable infringing conduct—declining to pull the accused products from the market after
13   being served with a patent infringement complaint simply does not rise to the level of “egregious
14   infringement behavior” necessary to meet the Supreme Court’s Halo standard.
15          Accordingly, Plaintiff’s allegations are insufficient as a matter of law to plead a claim of willful
16   infringement against Cisco and should be dismissed, along with its Prayer for Relief based on these
17   allegations. See, e.g., Finjan, Inc. v. Cisco Systems Inc., No. 17-cv-72-BLF, 2017 WL 2462423, at *5
18   (N.D. Cal. 2017) (granting motion to dismiss willfulness claim that did not plead “sufficient factual
19   allegations to make it plausible that Cisco engaged in ‘egregious’ conduct that would warrant enhanced
20   damages under Halo”).
21          STATEMENT OF RELEVANT FACTS
22          Plaintiff alleges that Cisco directly infringes and induces infringement of the ’730 and ’659
23   patents. Plaintiff also alleges that Cisco willfully infringes both patents. The allegations that Plaintiff
24   appears to contend are relevant to its assertions of willful infringement are set forth below:
25                   Actions Before Any Asserted Patent Issued: 2001-2010
26          September 2001: Plaintiff alleges that “Cisco personnel or affiliates were made aware of” the
27   technology of named inventor James Harlow in September 2001, when he gave a presentation at a
28   meeting of the One-Pair Ether-Net Special Interest Group (“OpenSig”) at Imperial College of London,
     CISCO’S MOTION TO DISMISS                              2                        Case No. 5:18-cv-2352-EJD
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 1   which allegedly described “the use of software agents in network operating systems.” Complaint ¶ 47.
 2   Plaintiff alleges “[t]he presentation made by Mr. Harlow indicated that he was in the process of seeking
 3   a patent on his technology.” Id. Plaintiff further alleges that Dr. Morris Sloman and Dr. Jon Crowcroft
 4   attended the meeting, but does not allege that either were employed by Cisco at the time of the
 5   conference. Instead, Plaintiff alleges that Dr. Crowcroft “served on Cisco’s editorial advisory board
 6   beginning in June 2001” and that Dr. Sloman “became a principal investigator for Cisco” six months
 7   after the conference. Id. There is no allegation that Mr. Harlow described any details of the patented
 8   invention or showed anyone a draft of that application. And neither of the applications for the Patents-
 9   in-Suit had been filed at that time. Id. ¶¶ 9–10.
10          Late 2001: Plaintiff alleges that a NetFuel engineer, Jian “Jerry” Zhong, and two other NetFuel
11   employees stole “NetFuel’s codebase and marketing presentations.” Complaint ¶ 46 (emphasis added).
12   Plaintiff further alleges that Mr. Zhong was, at that time, aware of an unfiled draft patent application.
13   Id. Plaintiff does not allege that Mr. Zhong ever saw the application, much less that he stole it. Rather,
14   Plaintiff avers that “Mr. Zhong was then married to a former Cisco employee, Lan Zhang,” and “[u]pon
15   information and belief, Mr. Zhong shared the stolen information with Ms. Zhang, who frequently used
16   Mr. Zhong’s NetFuel-provided laptop at home.” Id. The allegation that Mr. Zhong shared the laptop
17   with Ms. Zhang is purely hypothetical, and Plaintiff pleads no plausible facts to support this assumption.
18   There is also no allegation that Ms. Zhang took any action up on allegedly seeing this laptop, or that she
19   was involved in any capacity with the products accused of infringement. Id. And again, neither of the
20   applications that resulted in the Patents-in-Suit had even been filed at this point.
21          June 28, 2002: Applicant filed the application for the ’730 Patent (id. ¶ 9) and included a non-
22   publication request.
23          Early 2003: Plaintiff alleges that, at a meeting arranged by a former Cisco employee, Anson
24   Chen, “Mr. Harlow and his business partner in NetFuel met with Dave Ward,” a Cisco employee. Id. ¶
25   44. At the meeting, Mr. Harlow purportedly gave a presentation on “the use of software agents to
26   partially automate certain network-management functions,” “disclosed that he was in the process of
27   seeking patent protection for his technology,” and displayed the September 2001 OpenSig presentation
28   materials. Id. Plaintiff does not allege that Mr. Harlow or his business partner showed the patent
     CISCO’S MOTION TO DISMISS                              3                        Case No. 5:18-cv-2352-EJD
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 1   application to Mr. Ward or Mr. Chen. And at the time of this meeting, only one of the two Patents-in-
 2   Suit, the ’730 Patent, had even been filed, but the application had not published, much less issued.
 3          Mid 2000s: According to the Complaint, Mr. Harlow met with former Cisco employees Charles
 4   Giancarlo and Anson Chen, and former Cisco board member Bob Puette, at Mr. Puette’s residence to
 5   discuss “potential ways to license, fund, or otherwise work with NetFuel’s technology.” Id. 45. At a
 6   meeting that purportedly occurred in July 2007, “Mr. Giancarlo inquired about NetFuel’s intellectual
 7   property protections, and Mr. Harlow indicated that his patent application had been pending for several
 8   years.” Id. Plaintiff does not allege that Mr. Harlow showed the patent application to Mr. Giancarlo or
 9   Mr. Chen. Again, neither patent had issued by this point, and only the ’730 Patent, had even been filed,
10   but still had not been published. Id. ¶¶ 9, 10.
11                  Actions from Patent Issuance: 2010-Present
12          June 29, 2010: The ’730 Patent issued. Id. ¶ 9.
13          October 10, 2012: Applicant filed the application for the ’659 Patent. Id. ¶ 10.
14          May 30, 2017: The ’659 Patent issued. Id. ¶ 10.
15          April 18, 2018: Cisco received notice of the ’730 and ’659 patents through NetFuel’s filing of
16   the Complaint. Id. ¶ 48.
17          April 18, 2018–Present: Cisco continues to sell the accused products. Id. ¶ 65.
18          LEGAL STANDARDS
19          Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, a complaint may be dismissed
20   for failure to state a claim upon which relief may be granted. Fed. R. Civ. P. 12(b)(6); Bell Atl. Corp. v.
21   Twombly, 550 U.S. 544, 555 (2007). Such a dismissal is proper where, as here, there is a “lack of a
22   cognizable legal theory or the absence of sufficient facts alleged under a cognizable legal theory.”
23   Windy City Innovations, LLC v. Microsoft Corp., 193 F. Supp. 3d 1109, 1112 (N.D. Cal. 2016). The
24   complaint must plead “enough facts to state a claim [for] relief that is plausible on its face.” Twombly,
25   550 U.S. at 570. A Court will not assume facts not alleged, nor will it draw unwarranted inferences.
26   Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). (“Determining whether a complaint states a plausible claim
27   for relief [is] a context-specific task that requires the reviewing court to draw on its judicial experience
28   and common sense.”).
     CISCO’S MOTION TO DISMISS                              4                        Case No. 5:18-cv-2352-EJD
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 1          The Supreme Court has explained that willful infringement is reserved for “egregious
 2   infringement behavior” that is “willful, wanton, malicious, bad-faith, deliberate, consciously wrongful,
 3   flagrant, or—indeed—characteristic of a pirate.” Halo, 136 S.Ct. at 1932. In order to plead willful
 4   infringement, a plaintiff must allege facts supporting its contention that defendant (1) knew about the
 5   patents, and (2) subsequently engaged in egregious infringing behavior. See Finjan, Inc. v. Cisco Sys.
 6   Inc., No. 17-CV-00072-BLF, 2017 WL 2462423, at *5 (N.D. Cal. June 7, 2017) (granting motion to
 7   dismiss willful infringement claims because plaintiff “failed to make sufficient factual allegations that it
 8   had pre-suit knowledge of the Asserted Patents or that Cisco's behavior was ‘egregious ... beyond typical
 9   infringement.’” (quoting Halo, 136 S. Ct. at 1936)).
10          Just as before the Supreme Court’s decision in Halo, “[k]nowledge of the patent alleged to be
11   willfully infringed continues to be a prerequisite to enhanced damages.” WBIP, LLC v. Kohler Co., 829
12   F.3d 1317, 1341 (Fed. Cir. 2016). Knowledge of a patent obviously requires that it exist: “[t]o willfully
13   infringe a patent, a patent must exist and one must have knowledge of it.” Sealant Systems Intern., Inc.
14   v. TEK Global, No. 11-CV-1649 PSG, 2012 WL 13662, at *2 (N.D. Cal. Jan. 4, 2012) (quoting State
15   Industries, Inc. v. A.O. Smith Corp., 751 F.2d 1226, 1236 (Fed. Cir. 1985)); see also MasterObjects, Inc.
16   v. Google, Inc., No. C 11-1054 PJH, 2013 WL 12177460, at *1 (N.D. Cal. May 2, 2013) (denying
17   motion for leave to file fourth amended complaint based on allegations of knowledge before the
18   application issued as a patent). Notably, even knowledge of a patent application is not sufficient to meet
19   this standard. Because the claims of a patent application are not finalized until it issues as a patent,
20   “[w]hat the scope of claims in patents that do issue will be is something totally unforeseeable.”
21   MasterObjects, 2013 WL 12177460, at *1 (quoting State Industries, Inc. v. A.O. Smith Corp., 751 F.2d
22   1226, 1236 (Fed. Cir. 1985)). Indeed, post-Halo case law confirms that allegations of knowledge of a
23   patent application are insufficient to allege pre-suit knowledge of the patent. See Windy City, 193 F.
24   Supp. 3d at 1117 (dismissing willful infringement claims where plaintiff’s only pre-suit knowledge
25   allegations were communications regarding the patent application of the ’356 patent and a non-asserted
26   patent). Similarly, allegations relating to knowledge of a patent portfolio are insufficient to demonstrate
27   knowledge of a patent. See e.g., Longitude Licensing v. Apple Inc., No. C-14-04275-EDL, 2015 WL
28   1143071, at *2 (N.D. Cal. Mar. 13, 2015); see also Spherix Inc. v. Cisco Sys., Inc., No. 14- 393-SLR,
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 1   2015 WL 1517435, at *2 (D. Del. Mar. 31, 2015). Knowledge of the asserted patent is similarly
 2   required for induced infringement. Global–Tech Appliances, Inc. v. SEB S.A., 131 S.Ct. 2060, 2068
 3   (2011).
 4             Further, the Halo “egregious infringement behavior” standard requires more than formulaic
 5   pleading, and the conduct complained of must occur after knowledge of the patent. See Finjan, 2017
 6   WL 2462423 at *5; Emazing Lights, LLC v. De Oca, No. SACV 15-1561-AG(EX), 2016 WL 7507765, at
 7   *2 (C.D. Cal. June 20, 2016) (“‘A ‘bare recitation of the required legal elements for willful
 8   infringement’ or a ‘mere allegation, without more’ that the Defendants knew of the patents-in-suit will
 9   not survive a Rule 12(b)(6) motion.’”) (citing pleading standards set forth in Twombly, 550 U.S at 570,
10   and Iqbal, 556 U.S. at 678). To survive a motion to dismiss, a plaintiff asserting willful infringement
11   must allege facts beyond an allegation that a defendant was aware of the patents but nonetheless
12   continued to sell an infringing product. See Slot Speaker Technologies, Inc., v. Apple, Inc., 13-cv-
13   01161-HSG, 2017 WL 4354999, *2 (N.D. Cal. Sept. 29, 2017) (granting defendant’s motion to dismiss
14   willful infringement claim because the plaintiff did not plead any other factual allegations regarding the
15   nature of the defendant’s conduct except for ongoing sales).
16             NETFUEL’S WILLFUL INFRINGEMENT CLAIMS SHOULD BE DISMISSED
17                    Plaintiff Fails to Sufficiently Plead Pre-Suit Willful Infringement
18             As the Federal Circuit and this Court have repeatedly explained, an accused infringer must have
19   knowledge of the asserted patents to be liable for willful infringement. See Sealant Sys., 2012 WL
20   13662, at *2 (“[t]o willfully infringe a patent, a patent must exist and one must have knowledge of it.”)
21   Knowledge of a patent application, even if properly alleged, is similarly insufficient: “Merely providing
22   notice that applications are pending is not sufficient because [f]iling an application is no guarantee any
23   patent will issue and a very substantial percentage of applications never result in patents.” Id.; see also
24   WBIP, 829 F.3d at 1341; MasterObjects, 2013 WL 12177460, at *1. Here, as detailed in Section II.A
25   above, NetFuel does not allege that Cisco had knowledge of either patent before the Complaint giving
26   rise to this action was served. Indeed, the descriptions of allegedly suspect conduct by people—most of
27   whom were not even employed by Cisco, and much of which is pled on information and belief—are
28   completely irrelevant to willfulness as a matter of law because every single action occurred before either
     CISCO’S MOTION TO DISMISS                             6                        Case No. 5:18-cv-2352-EJD
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 1   patent issued. In short, because neither of the Patents-in-Suit existed at the time of any of alleged
 2   activity, NetFuel has failed to state a claim for willfulness based on pre-suit knowledge of the (then non-
 3   existent) Patents-in-Suit.
 4          Even if pleading knowledge of a pending application were not insufficient to state a claim for
 5   willful infringement, NetFuel still fails even to allege that any person affiliated with Cisco even saw
 6   either pending application. None of the purported interactions include any allegations of notice of the
 7   specific pending application for the ’730 Patent, and the application was not published until it issued as
 8   the ’730 Patent in 2010.1 Further, none of the allegations regarding interactions between named
 9   inventor Mr. Harlow and any Cisco-affiliated individual, even if taken as true, amount to anything more
10   than a general awareness that Mr. Harlow was in the process of procuring some kind of patent
11   protection. Generic allegations of this nature are insufficient to plead knowledge of a specific patent for
12   purposes of willfulness, particularly where neither of the Patents-in-Suit had issued yet, and one or both
13   of the patent applications had not even been filed. See Longitude Licensing, 2015 WL 1143071, at *2;
14   see also Sealant Sys., 2012 WL 13662, at *2.
15          NetFuel’s willfulness claim fails not only because it cannot plead pre-suit knowledge of either
16   Patents-in-Suit, but also because it fails to sufficiently plead the “egregious infringement behavior”
17   required by the Supreme Court. Halo, 136 S.Ct. at 1932. Of course, Cisco’s activities before the patents
18   even issued are irrelevant to this inquiry because it is impossible to infringe a patent that does not exist,
19   much less to do so “egregiously.” And Plaintiff pleads no allegedly culpable conduct between patent
20   issuance and Cisco’s actual notice of the asserted patents (see Section II.A), and it is impossible to
21   culpably infringe a patent of which one is ignorant.
22          As such, because NetFuel has failed to allege pre-suit knowledge or “egregious infringement
23   behavior,” its claim of willful infringement must be dismissed as to pre-suit activities.
24

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27   1
        The ’730 Patent application was filed with a non-publication request. When a patent application is
28      filed with a non-publication request, it is not published unless and until it issues as a patent. 35
        U.S.C. § 122(b)(2)(B)(i). The ’730 Patent issued June 29, 2010. Complaint ¶ 9.
     CISCO’S MOTION TO DISMISS                             7                         Case No. 5:18-cv-2352-EJD
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 1                  Plaintiff Fails to Sufficiently Plead Post-Filing Willful Infringement
 2          NetFuel’s post-filing willfulness claim must also be dismissed because NetFuel fails to plead any

 3   “egregious infringing behavior” that occurred after the Complaint was filed. As the Finjan court held in

 4   a detailed decision analyzing similar facts and striking a willfulness claim, mere knowledge of a patent

 5   is not enough to sustain a willfulness claim. Finjan, 2017 WL 2462423 at *5 (citing Halo, 136 S. Ct. at

 6   1936). The Finjan court underscored Halo’s emphasis on “egregious” infringing behavior, explaining

 7   that to state a claim for willful infringement under the Supreme Court’s Halo standard, a plaintiff must

 8   not only allege facts that adequately show knowledge of the Asserted Patents, but must also allege facts

 9   that support a plausible inference that defendant engaged in the kind of conduct warranting enhanced

10   damages under Halo, including that defendant’s behavior “was ‘egregious. . . beyond typical

11   infringement.” Id. (citing Halo, 136 S. Ct. at 1936); see also Emazing Lights, 2016 WL 7507765, at *2

12   (“‘A ‘bare recitation of the required legal elements for willful infringement’ or a ‘mere allegation,

13   without more’ that the Defendants knew of the patents-in-suit will not survive a Rule 12(b)(6)

14   motion.’”) (citing pleading standards set forth in Twombly, 550 U.S at 570, and Iqbal, 556 U.S. at 678);

15   Slot Speaker, 2017 WL 4354999, at *2 (granting defendant’s motion to dismiss willful infringement

16   claim because the plaintiff did not plead any other factual allegations regarding the nature of the

17   defendant’s conduct except for ongoing sales).

18          Here, Plaintiff’s post-suit willfulness allegations are limited to a single-sentence boilerplate

19   conclusion, which is alleged on information and belief and includes zero supporting facts:

20                  On information and belief, Cisco has infringed and continues to infringe
                    the Patents-in-Suit despite the objectively high likelihood that its actions
21
                    constitute patent infringement.
22   Complaint ¶ 65.
23           There are no specific factual allegations relating to Cisco’s behavior or state of mind that would
24   suggest that Cisco’s conduct is “egregious.” See id. Because NetFuel has failed to make these specific
25   factual allegations, its claim of post-filing willfulness should also be dismissed.
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     CISCO’S MOTION TO DISMISS                              8                        Case No. 5:18-cv-2352-EJD
     FOR FAILURE TO STATE A CLAIM
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 1          ANY PRE-SUIT INDUCED INFRINGEMENT CLAIMS SHOULD BE DISMISSED
 2          Plaintiff also alleges that Cisco actively induces infringement of the Patents-in-Suit, but

 3   Plaintiff’s allegations are vague as to the time period of the alleged inducement—i.e., whether the

 4   allegations are limited to post-suit inducement. Complaint ¶¶ 7–8, 22, 42, 58. To the extent that

 5   Plaintiff purports to plead pre-suit inducement, at least those claims must be dismissed. “The Supreme

 6   Court has held that ‘induced infringement under § 271(b) requires knowledge that the induced acts

 7   constitute patent infringement.’ As a result, inducement requires proof of knowledge of the relevant

 8   patent.” William Grecia v VUDU, Inc., 2015 WL 538486, at *6 (N.D. Cal. Feb. 9, 2015) (quoting

 9   Global–Tech Appliances, 131 S.Ct. at 2068) (internal citations omitted). Here, as described above,

10   Plaintiff has not pled pre-suit knowledge of the Patents-in-Suit or any facts that could plausibly support

11   pre-suit knowledge prior to service of the Complaint. See Section II.A. Since “there can be no

12   inducement prior to knowledge of the patent,” to the extent that Plaintiff purports to plead any pre-suit

13   inducement, those claims, at a minimum, must be dismissed as a matter of law. Grecia, 2015 WL

14   538486, at *8; see also Global–Tech Appliances, 131 S.Ct. at 2068 (holding knowledge of the existence

15   of the patent that is infringed is required for induced infringement).

16          CONCLUSION
17          For at least the foregoing reasons, Cisco respectfully requests the Court dismiss NetFuel’s claims

18   of willful infringement and any claims of pre-suit induced infringement.

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20   DATED: June 25, 2018                              Respectfully submitted,
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